                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,                         No. 21-CR-2041-CJW-MAR
                 Plaintiff,
 vs.                                                        ORDER
 JEREMY JAY SMITH,
                 Defendant.
                               ____________________
                               I.    INTRODUCTION
        This matter is before the Court on the Report and Recommendation (“R&R”) of
the Honorable Mark A. Roberts, United States Magistrate Judge, recommending that the
Court deny defendant’s Motion to Suppress Evidence. (Doc. 34).
        On September 3, 2021, defendant filed a Motion to Suppress. (Doc. 18). The
government timely resisted the motion. (Docs. 21, 22). Defendant filed a reply brief.
(Doc. 25). On September 21, 2021, Judge Roberts held a hearing on the motion (Doc.
26) and on November 3, 2021, Judge Roberts issued his R&R, recommending that the
Court deny defendant’s motion. (Doc. 34). On November 17, 2021, defendant timely
filed his objections to the R&R. (Doc. 36).
        For the following reasons, the Court overrules defendant’s objections, adopts
Judge Roberts’ R&R with minor modifications, and denies defendant’s Motion to
Suppress.




       Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 1 of 20
                             II.    STANDARD OF REVIEW
        The Court reviews Judge Roberts’ R&R under the statutory standards found in
Title 28, United States Code, Section 636(b)(1):
        A judge of the court shall make a de novo determination of those portions
        of the report or specified proposed findings or recommendations to which
        objection is made. A judge of the court may accept, reject, or modify, in
        whole or in part, the findings or recommendations made by the magistrate
        judge. The judge may also receive further evidence or recommit the matter
        to the magistrate judge with instructions.

See also FED. R. CIV. P. 72(b) (stating identical requirements). While examining these
statutory standards, the United States Supreme Court explained:
        Any party that desires plenary consideration by the Article III judge of any
        issue need only ask. Moreover, while the statute does not require the judge
        to review an issue de novo if no objections are filed, it does not preclude
        further review by the district judge, sua sponte or at the request of a party,
        under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo
any issue in a magistrate judge’s report and recommendation at any time. Id. If a party
files an objection to the magistrate judge’s report and recommendation, the district court
must review the objected portions de novo. 28 U.S.C. § 636(b)(1). In the absence of an
objection, the district court is not required “to give any more consideration to the
magistrate [judge]’s report than the court considers appropriate.” Thomas, 474 U.S. at
150.
        De novo review is non-deferential and generally allows a reviewing court to make
an “independent review” of the entire matter. Salve Regina Coll. v. Russell, 499 U.S.
225, 238 (1991); see also Doe v. Chao, 540 U.S. 614, 620–19 (2004) (noting de novo
review is “distinct from any form of deferential review”). The de novo review of a
magistrate judge’s report and recommendation, however, only means a district court
“‘give[s] fresh consideration to those issues to which specific objection has been made.’”



                                                 2

       Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 2 of 20
United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94–1609,
at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain amendments
affect Section 636(b))). Thus, although de novo review generally entails review of an
entire matter, in the context of Section 636 a district courts required de novo review is
limited to “de novo determination[s]” of only “those portions” or “specified proposed
findings” to which objections have been made. 28 U.S.C. § 636(b)(1).
       Consequently, the Eighth Circuit Court of Appeals has indicated de novo review
would only be required if objections were “specific enough to trigger de novo review.”
Branch v. Martin, 886 F.2d 1043, 1046 (8th Cir. 1989). Despite this “specificity”
requirement to trigger de novo review, the Eighth Circuit Court of Appeals has
“emphasized the necessity of . . . retention by the district court of substantial control
over the ultimate disposition of matters referred to a magistrate [judge].” Belk v. Purkett,
15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth Circuit Court of Appeals has
concluded that general objections require “full de novo review” if the record is concise.
Id. Even if the reviewing court must construe objections liberally to require de novo
review, it is clear to this Court that there is a distinction between making an objection
and making no objection at all. See Coop. Fin. Ass’n, Inc. v. Garst, 917 F. Supp. 1356,
1373 (N.D. Iowa 1996).
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th
Cir. 1996); see also Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the
advisory committee’s note to Federal Rule of Civil Procedure 72(b) indicates “when no
timely objection is filed the court need only satisfy itself that there is no clear error on
the face of the record”); Branch, 886 F.2d at 1046 (contrasting de novo review with




                                                3

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 3 of 20
“clearly erroneous standard” of review, and recognizing de novo review was required
because objections were filed).
       The Court is unaware of any case that has described the clearly erroneous standard
of review in the context of a district court’s review of a magistrate judge’s report and
recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573–
74 (1985) (citation omitted).      Thus, the clearly erroneous standard of review is
deferential, see Dixon v. Crete Med. Clinic, P.C., 498 F.3d 837, 847 (8th Cir. 2007),
but a district court may still reject the magistrate judge’s report and recommendation
when the district court “is left with a definite and firm conviction that a mistake has been
committed.” United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948).
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this Court to believe
that a clearly erroneous standard of review should generally be used as the baseline
standard to review all findings in a magistrate judge’s report and recommendation that
are not objected to or when the parties fail to file any timely objections, see Grinder, 73
F.3d at 795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also FED. R. CIV.
P. 72(b) advisory committee’s note (“When no timely objection is filed, the court need
only satisfy itself that there is no clear error on the face of the record in order to accept
the recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, the Court believes one further caveat is necessary: a district court
always remains free to render its own decision under de novo review, regardless of
whether it feels a mistake has been committed. See Thomas, 474 U.S. at 153–54. Thus,




                                                 4

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 4 of 20
although a clearly erroneous standard of review is deferential and the minimum standard
appropriate in this context, it is not mandatory, and the district court may choose to apply
a less deferential standard.
                             III.    FACTUAL BACKGROUND
       Based on the evidence submitted and testimony elicited at the suppression hearing,
Judge Roberts made extensive factual findings. With only one exception as noted herein,
defendant does not object to these findings, so the Court reviews them for plain error. 1
On review, the Court finds that Judge Roberts thoroughly and accurately summarized the
relevant facts in his R&R except as otherwise noted. (Doc. 34, at 4–9). Finding no plain
error, the Court adopts and incorporates the R&R’s factual findings with one minor
modification as noted herein.
              In September 2020, officers with the Violent Crime Apprehension
       Team (“VCAT”) of the Waterloo, Iowa Police Department began
       investigating Defendant Smith due to his association with the Street
       Soldiers, a motorcycle club in Waterloo. (Def. Ex. A at 5.) The Street
       Soldiers have been the subjects of multiple previous drugs and weapons-
       related investigations by the Waterloo VCAT. As part of the investigation
       into Smith, Officer Ehlers, a detective with the Waterloo VCAT, requested
       that Smith “add” him on Snapchat. Smith accepted Officer Ehlers’s request,
       allowing Officer Ehlers to view photos and videos Smith posted to his
       Snapchat account and to the account’s “private story.”
              A. Defendant’s Snapchat Posts Made September 12, 2020
              On September 12, 2020, Officer Ehlers viewed posts made to
       Defendant’s Snapchat account. Officer Ehlers captured the photos and
       videos made to Defendant’s account on September 12, 2020 in real time as
       they were posted. The first post Officer Ehlers viewed was a video of
       Defendant inside an unidentified vehicle. (Def. Ex. A at 5; Gov. Ex. 2.)
       This video shows Defendant recording himself and saying he is “geeked”
       to discover that a gun he wanted was available for purchase. In this video,


1
 The vast majority of defendant’s objections assert that the officer’s affidavit contained erroneous
or misleading information that Judge Roberts either did not acknowledge or sufficiently address
in his R&R. These are not, however, objections to Judge Roberts’ findings of fact.



                                                     5

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 5 of 20
 Defendant also displays a black, semi-automatic handgun in a holster, a gun
 he refers to as his “everyday carry.” (Gov. Ex. 2 at 00:12-00:13.)
 Defendant is wearing a red and black “Air Jordan” shirt in this video. The
 video is tagged with the location “Scheels All Sport” in Cedar Falls, Iowa.
         The second Snapchat post Officer Ehlers viewed on Defendant’s
 account on September 12 was a video of a black, semi-automatic handgun
 inside a case. (Def. Ex. A at 5; Gov. Ex. 3.) This video pans to show
 paperwork for a Ruger-57 Pistol, and then pans again to show a hand
 opening a box of ammunition next to the case containing the gun. (Gov.
 Ex. 3 at 00:03-00:16.) This video is captioned with two shouting emojis
 and two “100” emojis. The third Snapchat post Officer Ehlers viewed on
 Defendant’s account was a photo of a Scheels receipt being held by a hand
 against a leg clad in blue jeans. (Gov. Ex. 4.) The receipt in the photo
 shows a purchase price of $781.08, and the photo is captioned “Not too
 bad..I’m geeked!!!!!!” (Id.)
         Officer Ehlers then observed a fourth post made to Defendant’s
 Snapchat account. This post was a video that showed a hand reaching into
 a bag of marijuana. (Def. Ex. A at 5; Gov. Ex. 5.) This video depicts a
 person touching the marijuana and lifting some of the marijuana out of the
 bag, and appears to show that the bag contains a large quantity of marijuana.
 (Gov. Ex. 5.) The video is captioned “Ak47!!” (Id.) AK47 is a strain of
 marijuana.
         A fifth post made to Defendant’s Snapchat account is a video of
 Defendant wearing a red and black “Air Jordan” shirt and speaking to the
 camera about his plans for the day. (Gov. Ex. 6.) In this video, a light
 fixture mounted to the ceiling can be seen behind Defendant’s head, and
 shadows in the video indicate a ceiling fan is running in the room. (Id.)
 The video also shows the corner of a white wall above Defendant’s left
 shoulder and is captioned “Saturday Vibes.” (Id. at 00:00-00:06.)
 Although the issue was not discussed in the briefs or at the hearing, I have
 determined that September 12, 2020 was a Saturday.
         The next post Officer Ehlers observed, and the sixth post made to
 Defendant’s account on September 12, 2020, is a photo of a vacuum-sealed
 bag of marijuana being held against a person’s leg. (Def. Ex. A at 5, Gov.
 Ex. 9.) The person in the photo is wearing blue jeans and black and purple
 “Air Jordans” shoes. The photo also shows a light-colored wood floor and
 is captioned “Wish You Were Here” with a postage stamp icon. (Gov. Ex.
 9.) Officer Ehlers then observed a seventh post on Defendant’s account.
 (Def. Ex. A at 5.) This post was a photo that showed a handgun resting on



                                          6

Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 6 of 20
       a person’s leg. (Gov. Ex. 7.) The person in this photo is wearing blue
       jeans, and the handgun appears to be the same Ruger-57 shown in
       Government’s Exhibit 3. The photo also shows the person holding
       ammunition in their left hand and shows light-colored wood floors and two
       red pieces of furniture. (Id.) This photo is captioned “New Bae Alert”
       with two “100” emojis and a shouting emoji.
              The final post from Defendant’s account that Officer Ehlers observed
       on September 12, 2020 is a photo depicting three semi-automatic handguns.
       (Def. Ex. A at 5-6, Gov. Ex. 8.) The photo shows three handguns against
       a red cushioned background and is captioned “I’m mad I sold my 1911
       now” with a “facepalm” emoji. (Id.) A 1911 is a model of handgun. A
       second caption on the photo reads “feeling good.” (Id.)
              B. Officer Ehlers’s Further Investigation on September 12, 2020
              At some point on September 12, 2020, after viewing the above-
       mentioned posts on Defendant’s Snapchat, Officer Ehlers sought additional
       information on Defendant. In researching Defendant, Officer Ehlers
       discovered that Defendant worked for the railroad in Waterloo and had
       three vehicles registered to him in Iowa: a white 2016 GMC Sierra, a silver
       2017 Chevrolet Tahoe, and a black 2012 Harley Davidson LRX FLTRX.
       (Def. Ex. A at 6.) Officer Ehlers also discovered Defendant had a valid
       weapons permit in Black Hawk County. (Id.) Defendant listed his address
       on his firearms permit as [XXXX] Angeles Drive, Waterloo, Iowa. (Id.)
              Officer Ehlers then performed an online search of Defendant’s
       address. This search returned photos posted [in late 2013]2 to Realtor.com
       of the exterior and interior of the residence at Defendant’s address. (Gov.
       Ex. 1.) The photo on Realtor.com of the exterior of the residence at
       [XXXX] Angeles Drive, Waterloo, Iowa is an accurate depiction of the
       exterior of Defendant’s residence. Officer Ehlers compared the online
       photos of the interior of Defendant’s residence to the posts made on
       Defendant’s Snapchat account. He concluded that the floors in the living
       room in the online photos were similar to the floors seen in some of the
       Snapchat posts, and that the light fixture in the online photos was also
       similar to the light fixture seen in one of the Snapchat posts.
              Also on September 12, 2020, after posts ceased being made to
       Defendant’s Snapchat account, Officer Ehlers conducted surveillance

2
  Defendant objected to Judge Roberts’ exclusion of the date of the post. (Doc. 36, at 2). The
Court finds that this fact could be material and sustains defendant’s objection in this regard and
thus modifies Judge Roberts’ findings of fact to that extent.



                                                    7

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 7 of 20
 outside Defendant’s residence for approximately one hour. (Def. Ex. A at
 6.) During this time, Officer Ehlers observed Defendant’s GMC Sierra
 parked in the driveway of the residence at Defendant’s address, and he
 observed two vehicles arrive at Defendant’s address. Officer Ehlers saw
 Defendant exit the residence wearing the same clothing as depicted in the
 Snapchat posts to his account and speak with the driver of one of the
 vehicles. After a brief conversation between the driver and Defendant, that
 vehicle left Defendant’s address. After observing this, Officer Ehlers ended
 his surveillance and began to draft a search warrant application.
         C. The Search Warrant
         Officer Ehlers obtained a State of Iowa search warrant on September
 12, 2020 for (1) Defendant’s residence at [XXXX] Angeles Drive,
 Waterloo, Iowa and the single stall garage attached thereto; (2) Defendant’s
 white 2016 GMC Sierra; (3) Defendant’s silver 2017 Chevrolet Tahoe; and
 (4) Defendant’s black 2012 Harley Davidson LRX FLTRX. (Id. at 3.)
         In the affidavit to the search warrant application, Officer Ehlers
 stated that:
         The videos and post[s] made to Smiths [sic] open source social
         media . . . appear to be inside a residence. The floor, trim,
         and light fixtures appear to be similar to the photos listed
         online for [XXXX] Angeles Drive[,] Waterloo, Iowa.
 (Id. at 6.) Officer Ehlers also stated in the affidavit that he:
         knows that Jordan is a prohibited person from possessing or
         handling a firearm due to being an apparent drug user.
 (Id. at 7 (emphasis added.))
         Once the warrant was obtained, VCAT officers surveilled
 Defendant’s home and observed Defendant leave his home in the GMC
 Sierra truck. (Def. Ex. B at 1.) Other officers remained at the residence
 and continued surveillance. (Id.) VCAT Officer Woodward conducted a
 traffic stop on the Sierra and Officer Ehlers explained to Defendant that
 they had a warrant for his home and vehicle. (Id.) Officer Ehlers searched
 the Sierra and seized the following items: a digital scale, an “amount of
 new small loose clear plastic bags,” 9 mm bullets, and a 9mm magazine
 containing 9mm ammunition. (Id.) Officers Woodward and Ehlers
 accompanied Defendant back to his home where the search warrant was
 executed in the evening on September 12, 2020. (Id.; Def. Ex. F at
 22:46:10-23:06:12.)
         Inside Defendant’s residence, officers seized, among other things:
 (1) five large mason jars containing suspected marijuana; (2) one smaller



                                         8

Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 8 of 20
       mason jar containing suspected marijuana; (3) two digital scales; (4) an
       open, vacuum-sealed1 bag labeled “AK47” and containing marijuana
       residue; (5) a Ruger-57 semi-automatic handgun with loaded magazine;
       (6) a Taurus G 9mm semi-automatic handgun with loaded magazine; (7) a
       Springfield XD45 .45 caliber semi-automatic handgun with loaded
       magazine; (8) a Smith & Wesson AR15 model MP15 5.56 caliber semi-
       automatic rifle with loaded magazine; (9) a Springfield AR15 model Saint
       semi-automatic rifle; (10) an AK47 7.62 caliber semi-automatic rifle with
       loaded magazine; (11) a DPMS AR15 5.56 caliber semiautomatic rifle; (12)
       a Springfield M1 .308 caliber semi-automatic rifle with empty magazine;
       (13) a WASR-10 AK47 7.62 caliber with empty magazine; (14) two
       Mossberg 12 gauge pistol grip pump action shot guns; and (15) other
       ammunition and firearm accessories. (Def. Ex. B at 1.) Officers also
       recovered plastic sandwich bags and an electric vacuum sealer from
       Defendant’s residence. (Id.).

(Doc. 34, at 4-9) (footnote omitted).
                                      IV.    ANALYSIS
       In his motion to suppress, defendant argued that the search warrant lacked
probable cause. (Doc. 18-2, at 5). Alternatively, defendant argues that the affidavit in
support of the search warrant contained material misstatements and were they corrected,
the warrant would have lacked probable cause. (Id., at 8-9). Judge Roberts found that
the search warrant contained probable cause. (Doc. 34, at 10-38). Judge Roberts also
found that the affidavit did not contain misleading statements which, if corrected, would
have deprived the warrant of probable cause. (Id., at 38-49). In his objections, defendant
does not assert that the warrant lacked probable cause; rather, his focus is on the claim
that the warrant would have lacked probable cause if shorn of what he claims to be
misleading information.3 (Doc. 36). Having conducted a de novo review of the record,


3
  Defendant also objects to Judge Roberts’ alternative finding that the Leon good faith exception
to the exclusionary rule would save the deficient affidavit because that exception does not apply
to a so-called Franks violation. (Doc. 36, at 5-6). The Court agrees that the Leon good faith
exception does not apply when a court finds a Franks violation. Here, though, the Court finds



                                                   9

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 9 of 20
the Court agrees with Judge Roberts’ findings and reasoning that the search warrant was
supported by probable cause, but because defendant has not objected to that finding the
Court will not parse through that issue here. Rather, the Court will focus on defendant’s
objections about the allegedly misleading statements and whether a corrected affidavit
would have still supported probable cause.
       Defendant alleges Judge Roberts erred in several ways by recognizing and
weighing what defendant claims to be misleading and false information in the affidavit.
The Court will address each in turn.
       A.      Nexus Between Defendant’s Home and Vehicles to Drugs
       Defendant asserts that in the affidavit in support of the search warrant, the officer
exaggerated the nexus between defendant’s home and car, and drug possession and
trafficking. (Doc. 36, at 1-3). Defendant asserts the affidavit was misleading because it
suggested the officer saw floor trim in Snapchat videos when he did not. (Id., at 2).
Second, defendant emphasizes that the online real estate photos of the residence upon
which the officer relied were dated, which the officer failed to disclose. (Id.). Third,
defendant asserts that the officer’s conclusion that defendant’s brief contact with a person
outside his home was “consistent with a drug transaction” was misleading because the
officer observed nothing drug related. (Id., at 2-3). Fourth, defendant claims the
affidavit was misleading because it did not mention the lapse of time between the last
Shapchat pose and the surveillance. (Id., at 3). Fifth, defendant claims the affidavit was
misleading because it “failed to disclose a lack of evidence that [defendant’s] vehicles
contained marijuana, or that he engaged in any illegal conduct in a vehicle” and instead


no Franks violation occurred and therefore the Leon good faith exception would apply. Because
defendant did not object to the application of the good faith exception absent a finding of a Franks
violation, he has waived it. Nevertheless, the Court has conducted a de novo review of that
issue and finds that if the warrant lacked probable cause suppression is inappropriate under the
Leon good faith exception for the reason articulated by Judge Roberts. (Doc. 34, at 52).



                                                    10

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 10 of 20
“contained a generic statement indicating that vehicles are used to conceal or transport
drugs and firearms.” (Id.). The Court will address each of these sub-issues in turn.
               (i)     Floor Trim
       As noted, defendant asserts the officer misleadingly identified the house in the
snapchat posts by saying that the floor trim depicted in those posts matched that of the
house subject to the search. Defendant argues that the way the officer wrote the affidavit
suggests he observed “floor trim” when he did not.4 (Doc. 34, at 2). In the affidavit,
the officer stated:
       The videos and post[s] made to [defendant’s] open source social media . . .
       appear to be inside a residence. The floor, trim, and light fixtures appear
       to be similar to the photos listed online for [XXXX] Angeles Drive[,]
       Waterloo, Iowa.

(Def. Exhibit A, at 6). The affidavit cannot be fairly read as suggesting that the officer
observed “floor trim.” With a comma between “floor” and “trim,” a plain reading of
the affidavit means that the officer claimed to have observed “trim” not “floor trim.”
There is other trim in homes, including around cabinets, windows, doorways and
ceilings. Further, the officer testified at the hearing that he intended a broader meaning
to the word “trim” to mean “[t]he finishing inside the house.” (Doc. 27, at 44). Further,
the officer also observed at least one other post (Exhibit 6) which he did not specifically
mention in the affidavit that also depicted the light fixtures and a corner of a wall.
       Thus, the question for purposes of a Franks analysis is whether there is evidence
the officer made a deliberate falsehood or recklessly disregarded the truth when he stated
that the “floor, trim, and light fixtures appear to be similar.” United States v. Conant,
799 F.3d 1195, 1201 (8th Cir. 2015); (Def. Exhibit A, at 6). Here, Judge Roberts found



4
  Defendant does not contest that the posts show the floor and light fixtures, either at the hearing
or in his objections. (Doc. 27, at 44).



                                                    11

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 11 of 20
the statement was not and the Court agrees. Judge Roberts acknowledged that the images
of the inside of the residence were not unique and could have been similar to many other
residences, but noted they were also similar to defendant’s residence. (Doc. 34, at 33).
There is nothing misleading here. The officer did not say the images showed something
unique or claims the images were identical. He stated they were similar. That is a matter
of opinion and may be open to reasonable disagreement, but that does not mean it was
misleading in any way. Further, even if the Court were to omit the word “trim” from
the affidavit, there would still be sufficient facts to establish probable cause to search
defendant’s residence based on the totality of the rest of the evidence.
       Thus, the Court overrules defendant’s objection to this part of the R&R, finding
that Judge Roberts placed appropriate weight on these facts.
              (ii)   Dated Online Photos of House
       Defendant asserts the officer’s omission of the date of the online real estate photos
of defendant’s residence (Exhibit 1) was misleading. (Doc. 36, at 2). As noted, the
Court has modified the factual findings in the R&R to reflect this date. Defendant asserts
that the date of the photos “undermines the significance of any similarities.” (Id.).
       Defendant never raised this in his motion to suppress or for a Franks hearing, nor
did he question the officer about it during the suppression hearing. Judge Roberts did
not include the date in his R&R because defendant did not point out the date on Exhibit
1 or argue that the date made any difference. The first time defendant raised the issue of
the date of the online real estate photos is in his objections to Judge Roberts’ R&R. There
is no allegation or evidence that the officer had more recent photos available and
intentionally used a more dated one.
       Nevertheless, the Court finds that the addition of this information to the affidavit
in support of the search warrant would not detract from the probable cause finding.
Although the photos on the real estate website might be dated, they were not so dated as




                                                12

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 12 of 20
to call into question whether the interior of the house was similar to the posts showing
the interior of defendant’s home. There was other evidence, including defendant coming
outside his home wearing the same outfit he was seen wearing in one of the posts taken
in a residence, to establish that the home depicted in the posts was defendant’s home.
       Thus, to the extent defendant objects to the R&R for not finding the officer’s use
of a dated photo to be misleading, or that Judge Roberts failed to place sufficient weight
on this fact, the Court overrules defendant’s objection.
              (iii)   Whether Contact Was Drug-Related
       Defendant argues that “[t]he [R&R] also did not acknowledge the misleading
nature of this statement: ‘From my training and experience I know that this type of
interaction [outside of Mr. Smith’s residence] is consistent with that of a drug
transaction.’” (Doc. 36, at 2, citing Doc. 34, at 14 (second alteration defendant’s)). The
Court finds otherwise. Judge Roberts addressed this “brief visit” in his R&R. (Doc. 34,
at 34-35). Judge Roberts acknowledged that “while in different circumstances, a brief
contact with a person in a car could be a ‘brief visit,’ and not a drug transaction, an
affidavit in support of a search warrant must be judged on the totality of the
circumstances.” (Id.). Judge Roberts then noted the other circumstances that could lead
a law enforcement officer to conclude that the contact defendant had with the person
outside his house was “consistent with” a drug transaction. (Id., at 36). There is nothing
misleading or false about this assertion in the affidavit. The officer did not declare that
the contact was a drug transaction and did not claim to see drugs change hands. Rather,
he stated that in his opinion, knowing what he did about this case, that the interaction
was consistent with a drug transaction. That it could be consistent with many other things
does not change that it was also consistent with a drug transaction.
       Thus, the Court overrules defendant’s objection to this portion of the R&R.




                                               13

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 13 of 20
              (iv)   Lapse of Time Between Observing Snapchat and Contact
       Defendant argues that the “affidavit also misleadingly omitted the lapse of time
between the last Snapchat post observed by the officer and the surveillance.” (Doc. 36,
at 3). The officer testified that one hour passed between the last post the officer observed
and his arrival to conduct surveillance at defendant’s house. (Doc. 27, at 21). Defendant
argues that this lapse of time means that defendant could have made those posts at another
location and then traveled to his house. (Doc. 36, at 3). Defendant argues that the
omission of the passage of time suggests that the observation of the posts and the
surveillance was contemporaneous. (Id.).
       Defendant did not raise this as one of the allegedly misleading aspects of the
affidavit when defendant argued this matter before Judge Roberts. (Doc. 27, at 5-8).
Thus, Judge Roberts was not given the opportunity again to directly address this
argument. Nevertheless, the Court finds the omission was not intentional or reckless,
nor would its inclusion detract from the finding of probable cause. The affidavit does
not imply or suggest that the officer’s observation of defendant’s posts and the
surveillance was simultaneous. Indeed, the inference, if there is one to be drawn, is that
there was some passage of time between observing the posts and the surveillance. The
reference to the surveillance is in a different paragraph than the references to seeing
defendant’s Snapchat posts. (Def. Exhibit A, at 5-6). The officer began the paragraph
describing the surveillance by repeating the date. (Id., at 6.) Further, common sense
would suggest to a reasonable reader of the affidavit that the officer was likely conducting
the monitoring of defendant’s posts in an office at a computer, not in his car while
conducting surveillance. In any event, the passage of an hour between observing the
posts and conducting surveillance is not a long period of time. Although it is possible
defendant could have been somewhere else making the posts and then traveled to his
house within that one-hour time period, it is also reasonable to believe he did not. In




                                                14

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 14 of 20
short, the Court finds that even if the lapse of time was added to the affidavit, it would
make no difference in the finding of probable cause.
       Thus, the Court overrules defendant’s objection on this ground.
              (v)    Connection Between Defendant’s Vehicles and Drugs
       Defendant argues that “the affidavit failed to disclose a lack of evidence that
[defendant’s] vehicles contained marijuana, or that he engaged in any illegal conduct in
the vehicle.” (Doc. 36, at 3). Defendant argues that by instead including a “generic
statement indicating that vehicles are used to conceal or transport drugs and firearms,”
that the officer was misleading the issuing judge. (Id.). Once again, when before Judge
Roberts defendant did not identify this as a ground for finding the affidavit misleading
under Franks, depriving Judge Roberts of the opportunity to address this argument. In
his ruling on defendant’s argument that the search warrant lacked probable cause, Judge
Roberts found that the affidavit did not support “probable cause that defendant’s vehicles
were connected to marijuana” and recommended suppressing any evidence that came
from defendant’s vehicles that were not located on his property. (Doc. 34, at 24-25, 35).
       The Court does not find the officer’s generic assertion that vehicles are used to
conduct drug transactions and carry drugs and firearms was false, misleading, or made
with reckless disregard for the truth. Nor does the Court find that the officer’s failure to
affirmatively state that he had no evidence linking defendant’s vehicles to drug activity
met the Franks standard. First, defendant does not assert that the generic statement itself
is in any way false or misleading. (Doc. 36). Second, nowhere in the affidavit does the
officer allege or imply that he had any evidence of defendant’s use of his vehicles for
drug trafficking. (Def. Exhibit A). It is not necessary for the officer to affirmatively
state the negative when he nowhere alleges the affirmative. Third, even if the Court
struck this language from the affidavit, it would have no effect on the finding of probable
cause. As Judge Roberts correctly concluded, a conclusion to which defendant does not




                                                15

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 15 of 20
object, the vehicles on defendant’s property were subject to search if there was probable
cause to search his property. (Doc. 34, at 25-29, 35). Judge Roberts recommended
suppressing any evidence from any vehicle not located on the property.
       Thus, the Court overrules defendant’s objection on this ground.
       In short, the Court overrules defendant’s objection that the affidavit exaggerated
any nexus between defendant’s home and vehicles to illegal marijuana possession or
distribution and finds that Judge Roberts correctly weighed the evidence under Franks on
these grounds (to the extent defendant raised these grounds before Judge Roberts).
       B.     Assertion that Defendant Was a Drug User in Possession of Firearm
       Defendant argues that the R&R “erred by failing to recognize that the affidavit
contained a manifestly false statement: ‘Your affiant knows that Jordan is a prohibited
person from possessing or handling a firearm due to being an apparent drug user.’” (Doc.
36, at 3, quoting Doc. 34, at 14 (emphasis added by defendant)).            Judge Roberts
addressed this issue at length in his R&R. (Doc. 34, at 40-46). Judge Roberts found the
reference to “Jordan” to be a negligent typographical error, a conclusion with which
defendant does not object. (Id., at 44). As for the officer “knowing” that defendant was
an “apparent drug user,” Judge Roberts properly focused on whether the officer could
“reasonably believe” that statement. (Id.). Judge Roberts found that the officer did
reasonably believe defendant was likely a drug user, focusing on the officer’s intentional
use of the word “apparent.” (Id., at 45).
       The Court finds Judge Roberts’ reasoning to be sound and agrees that defendant
has failed to show the officer’s statement was either deliberately or recklessly false. The
officer’s use of the word “apparent” reflects his opinion about the likelihood that
defendant was using his own product. (Def. Exhibit A, at 7). It would have been
different, for example, if the officer had left out the word “apparent” or had affirmatively
claimed to have knowledge that defendant used controlled substances. Here, the officer




                                                16

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 16 of 20
conveyed to the issuing judge his opinion that, based on his experience, he believed it
apparent that defendant was an unlawful drug user who was prohibited from possessing
firearms. (Id.).
       Regardless, Judge Roberts recommended striking that sentence from the affidavit
as part of the probable cause analysis, finding no factual support for concluding defendant
was an unlawful drug user. (Id., at 20-23). The Court agrees. The Court further finds
the warrant would stand even if the Court struck this sentence. As Judge Roberts properly
found, officers had probable cause to seize the firearms as tools of the drug trade
regardless of defendant’s status as an unlawful drug user. (Id., at 36-38).
       Thus, the Court overrules defendant’s objection to this portion of the R&R.
       C.      Use of Social Media Posts to Advertise Drug Sales
       Defendant argues that the affidavit exaggerated the extent to which the social media
posts advertised possible illegal activity. (Doc. 36, at 4). Defendant argues that the posts
were not “open source” and because it was therefore directed at a more limited audience
to whom defendant granted permission to view his posts, the affidavit misleadingly
suggested a greater degree of advertising than existed. (Id.). Defendant also claims that
it was misleading for the affidavit to claim that “‘cell phones and electronic devices’ are
used to take ‘trophy pictures’ to pose on ‘open source social media.’” (Id., quoting Doc.
34, at 14)).
       Once again, defendant did not argue before Judge Roberts that this was a false or
misleading statement under Franks, depriving Judge Roberts the opportunity to address
this argument directly. In that sense, again, this is not an objection to Judge Roberts’
R&R but a new argument. Defendant did not question the officer about his use of the
term or give the officer an opportunity to explain why he used the term “open source.”
(Doc. 27, at 48). Judge Roberts did note that although the affidavit described the posts
as open source social media, the officer explained during the hearing that they were not




                                                17

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 17 of 20
truly open source and required permission to view by the person posting the images.
(Doc. 34, at 11 n.3).
       The Court does not find that the officer’s use of the description “open source social
media” was intentionally or recklessly false. Rather, the Court finds it was at most a
negligent description of the posts. The fact that a person had to ask permission to view
a post that defendant was posting for others to see has seemingly little import when the
affiant, a police officer, merely got online and asked defendant permission to view his
locked posts, which defendant likely granted without knowing who the officer was. (Doc.
27, at 48). Further, whether defendant’s posts were viewable by the public at large or
viewable to those he permitted to view them is immaterial. Defendant’s posts were
intended to communicate to others the availability of marijuana for sale.             Whether
defendant used broadcast advertising or more targeted advertising of his wares does not
add or detract from the evidentiary value his advertising contributed to establishing
probable cause.
       Thus, the Court overrules defendant’s objection on this ground.
       D.     Defendant’s Alleged Association With a Street Gang
       Defendant argues that the officer’s mention of defendant’s association with a street
gang did not contribute to probable cause and asserts “[t]he gratuitous reference” “was
misleading[.]” (Doc. 36, at 5).5 Defendant asserts the officer had little factual basis for
making that assertion and implying that defendant was involved in the illegal conduct
associated with that gang. (Id.).




5
  The affidavit states: “Smith has been identified as a member of the Street Soldiers motorcycle
club[.] The Street Soldiers, specifically in the Waterloo area[,] have been tied to multiple
shootings, illegal firearm possession, and drug distribution cases. Smith has been observed
wearing Street Soldier ‘cuts’ [a leather vest]. Smith has been seen associating with other
members of Street Soldiers.” (Def. Exhibit A, at 5).



                                                  18

     Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 18 of 20
       Once again, defendant did not make this argument when he was before Judge
Roberts. The officer testified at the hearing about his observations of defendant wearing
clothing associated with the street gang. (Doc. 27, at 12-13, 63). Defendant did not
cross examine the officer or question the basis for his conclusion about defendant’s
association with the gang. Thus, once again Judge Roberts was unable to directly address
this argument.    Defendant’s argument here is not, therefore, an objection to Judge
Roberts’ R&R but a new argument.
       Regardless, the Court finds the reference was not deliberately or recklessly false.
Indeed, the officer testified about the factual basis he had for reaching that conclusion.
(Id.). It appears, therefore, that the assertion that defendant was associated with the street
gang was a true statement. Defendant does not claim that the statement about the gang
being associated with illegal drug and firearm activity is false. The affidavit does not
claim that defendant was involved in the gang’s illegal activity; rather, it asserts only that
defendant is associated with a gang engaged in such activity. (Def. Exhibit A, at 5).
Last, the reference is not gratuitous. Defendant’s membership in a gang engaged in
illegal drug and firearm activity makes it more likely that he would be involved in that
same conduct, even if the officer had no direct evidence that he was. It provided a motive
for defendant to possess drugs and firearms.
       Thus, the Court overrules defendant’s objection on this ground.
       In summary, the Court finds that the officer did not commit a Franks violation
because he did not deliberately or recklessly include false or misleading information in
his affidavit supporting the search warrant. To the extent the affidavit contained negligent
errors or unsupported conclusions, excising those portions of the affidavit would have no
impact on a finding of probable cause.




                                                 19

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 19 of 20
                               V.     CONCLUSION
      For the reasons stated above, defendant’s objections (Doc. 36) are overruled. The
Court adopts Judge Roberts’ R&R (Doc. 34) with one modification to the findings of
fact and denies defendant’s Motion to Suppress (Doc. 18).
      IT IS SO ORDERED this 2nd day of December, 2021.



                                       ________________________
                                       C.J. Williams
                                       United States District Judge
                                       Northern District of Iowa




                                             20

    Case 6:21-cr-02041-CJW-MAR Document 37 Filed 12/02/21 Page 20 of 20
